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Attorneys for Plaintiff Power Survey, LLC

                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

POWER SURVEY, LLC,

Plaintiff,                                           Civil Action No. _______________

v.                                                   COMPLAINT FOR
                                                     PATENT INFRINGEMENT
PREMIER UTILITY SERVICES, LLC,
and L-3 COMMUNICATIONS                               Jury Trial Demanded
CORPORATION d/b/a/ NARDA SAFETY
TEST SOLUTIONS                                       (Filed Electronically)

Defendants.

        Plaintiff Power Survey, LLC (“Power Survey”) for its Complaint against Defendants

Premier Utility Services, LLC (“Premier Utility”) and L-3 Communications Corporation doing

business as Narda Safety Test Solutions (“Narda”) alleges as follows:


                              THE NATURE OF THE ACTION

        1.     This is an action for patent infringement under the patent laws of the United

States, 35 U.S.C. §§ 100, et seq.
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                                         THE PARTIES

         2.    Power Survey is a limited liability company organized and existing under the laws

of the State of Delaware, having its principal place of business at 25 Campus Drive, Kearny,

New Jersey 07032. Power Survey regularly engages in business in this judicial district.

         3.    According to publicly available records, Premier Utility is a limited liability

corporation organized and existing under the laws of the State of New York, having a principal

place of business at 100 Marcus Blvd, Suite #3, Hauppauge, New York 11788. Premier Utility is

registered to do business in New Jersey as a foreign LLC and can be served through its New

Jersey registered agent for service of process, National Registered Agents, Inc. of New Jersey,

100 Canal Pointe Blvd., Suite 212, Princeton, New Jersey 08540.

         4.    According to publicly available records, Narda Safety Testing Solutions is a

division of L-3 Communications, a corporation organized and existing under the laws of the

State of Delaware, having a principal place of business at 435 Moreland Road, Hauppauge, New

York 11788. L-3 Communications Corporation is registered to do business in New Jersey as a

foreign corporation and can be served through its New Jersey registered agent for service of

process, The Corporation Trust Company, 820 Bear Tavern Road, West Trenton, New Jersey

08628.

                                 JURISDICTION AND VENUE

         5.    This action arises under the patent laws of the United States of America pursuant

to 35 U.S.C. §§ 1, et seq.

         6.    This Court has jurisdiction over the subject matter of this action pursuant to

28 U.S.C. §§ 1331 and 1338(a).

         7.    This Court has personal jurisdiction over Premier Utility pursuant to New Jersey

Long-Arm Statute J.J. CT. R. 4:4-4 and principles of due process. Premier Utility has sufficient

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minimum contacts with New Jersey and this district, and the maintenance of this suit does not

offend traditional notions of fair play and substantial justice. Personal jurisdiction over Premier

Utility is proper under principles of specific jurisdiction. Premier Utility is in the business of

providing contact-voltage-testing services in the State of New Jersey and throughout the United

States. Personal jurisdiction over Premier Utility is also proper under principles of general

jurisdiction in that Premier Utility either resides in this state and district or has regularly and

purposefully conducted business in New Jersey and this district. Premier Utility is registered to

do business in the State of New Jersey as a foreign limited liability corporation, Business ID

Number: 0600229413.

        8.      This Court has personal jurisdiction over Narda pursuant to New Jersey Long-

Arm Statute J.J. CT. R. 4:4-4 and principles of due process. Narda has sufficient minimum

contacts with New Jersey and this district, and the maintenance of this suit does not offend

traditional notions of fair play and substantial justice. Narda is in the business of providing

contact-voltage-testing products for use in the State of New Jersey and throughout the United

States. Personal jurisdiction over Narda is also proper under principles of general jurisdiction in

that Narda either resides in this state and district or has regularly and purposefully conducted

business in New Jersey and this district. L-3 Communications Corporation is registered to do

business in the State of New Jersey as a foreign profit corporation, Business ID Number:

0100703185.

        9.      Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(b), 1391(c), and

1400(b) because each of Premier Utility and Narda either reside in this district or have

committed acts of infringement in this district, or both.




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                                          BACKGROUND

        10.     Contact or stray voltage (“contact voltage”) is an elevated voltage condition that

appears on or near the elements of an electric-distribution system and the devices it supplies. One

of the many causes of contact voltage is damaged or deteriorated electrical insulation

Workmanship issues, design flaws, and infrastructure decay are among the other causes of

contact voltage. Voltage potentials on structures and surfaces that are publicly accessible create a

potential hazard. In these cases, objects such as metal fences, street lights, traffic signals, fire

hydrants, bus shelters and even sections of sidewalk or roadway become energized. Exposure of

a person or animal to contact voltage can be hazardous and has led to injury and death of

pedestrians and pets.

        11.     Some power utilities employ manual-inspection programs to detect contact

voltage. This method deploys field technicians with handheld probes who must test potentially

hazardous structures on foot. This method is ineffective, labor intensive, slow, and often leads to

missed hazards.

        12.     Power Survey developed an accurate and reliable vehicle-mounted system to

detect structures energized as a result of contact voltage. Power Survey’s SVD2000 mobile

electric field detector is a sensitive and accurate mobile contact-voltage-detection system. The

SVD2000 is designed to locate contact-voltage hazards from a moving vehicle. The system

reliably detects voltages on all surfaces in an area, including, for example, streetlights, manholes,

fences, hand-hole covers, roadways, and sidewalks.

        13.     Power Survey’s fleet of SVD2000 systems has successfully serviced clients in the

United States, Canada, and Europe. In total, Power Survey’s SVD systems have tested millions

of structures and detected thousands of instances of contact voltage. Power Survey’s innovative



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technology is protected by several patents and pending patent applications, including the two

patents-in-suit identified in the following two paragraphs.

       14.     On July 9, 2013, the United States Patent and Trademark Office duly and lawfully

issued US Patent No. 8,482,274 (“the ’274 patent”), entitled “Apparatus and Method for

Monitoring and Controlling Detection of Stray Voltage Anomalies” to inventors David Kalokitis,

Leonard J. Schultz, Christos A. Polyzois, and Vincent Paragano, Jr. Power Survey is and at all

relevant times has been the owner of all right, title, and interest in and to the ’274 patent. A copy

of the ’274 patent is attached hereto as Exhibit A.

       15.     On September 17, 2013, the USPTO duly and lawfully issued US Patent No.

8,536,856 (“the ’856 patent”), entitled “Apparatus And Method For Monitoring And Controlling

Detection Of Stray Voltage Anomalies” to inventors David Kalokitis, Leonard J. Schultz,

Christos A. Polyzois, and Vincent Paragano, Jr. Power Survey is and at all relevant times has

been the owner of all right, title, and interest in and to the ’856 patent. A copy of the ’856 patent

is attached hereto as Exhibit B.

                         DEFENDANTS’ INFRINGING ACTIVITIES

       16.     On information and belief, Defendant Narda makes, uses, offers for sale, sells, or

imports the Narda Model 8950/10. On information and belief, the Narda Model 8950/10

infringes the claims of the patents-in-suit. According to Narda’s website and other materials, the

Narda Model 8950/10 is a mobile contact-voltage-detection system and is offered for sale and

sold to power utilities and contractors performing contact-voltage testing, including Premier

Utility. Narda describes the Narda Model 8950/10 as a solution for conducting contact-voltage

testing designed to be mounted on a vehicle.

       17.     On information and belief, Premier Utility purchased from Narda the Narda

Model 8950/10 and mounted it to a vehicle according to Narda’s design. Premier Utility uses the

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mounted Narda Model 8950/10 to market and provide contact-voltage-detection services in the

State of New Jersey and elsewhere in the United States.

        18.     On information and belief, Premier Utility also makes, uses, offers for sale, sells,

or imports its own Mobile Contact Voltage Detection System (MCVD). On information and

belief, Premier Utility touts the MCVD as a mobile system designed to detect contact voltages

that may be hazardous to humans or pets.

        19.     On information and belief, Premier Utility has provided contact-voltage-detection

services in the State of New Jersey using the Narda Model 8950/10. Upon information and

belief, Premier Utility continues to sell or offer for sale mobile contact voltage detection services

in the State of New Jersey.

        20.     The Narda Model 8950/10 infringes one or more claims of the patents-in-suit.

        21.     The MCVD infringes one or more claims of the patents-in-suit.

      COUNT I: INFRINGEMENT OF THE ’274 PATENT BY PREMIER UTILITY

        22.     Plaintiff Power Survey realleges paragraphs 1 – 21 set forth above as if

specifically set forth herein.

        23.     Defendant Premier Utility, in violation of 35 U.S.C. § 271(a), (b), or (c), has been

infringing, continues to infringe, induces others to infringe, or contributes to the infringement by

others of, claims of the ’274 patent, either literally or under the doctrine of equivalents, through

at least the acts of making, using, selling, offering for sale, or importing infringing products and

services, including the Narda Model 8950/10, the Premier Utility Mobile Contact Voltage

Detection System, and mobile contact voltage detection services.

        24.     Plaintiff Power Survey has suffered monetary damages as a result of Premier

Utility’s infringement of the ’274 patent in an amount to be determined at trial.



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        25.     Plaintiff Power Survey has suffered irreparable harm as a result of Premier

Utility’s infringement of the ’274 patent and will continue to suffer irreparable harm unless

Premier Utility is enjoined from infringing the ’274 patent.

     COUNT II: INFRINGEMENT OF THE ’856 PATENT BY PREMIER UTILITY

        26.     Plaintiff Power Survey realleges paragraphs 1 – 25 set forth above as if

specifically set forth herein.

        27.     Defendant Premier Utility, in violation of 35 U.S.C. § 271(a), (b), or (c), has been

or is infringing, continues to infringe, induces others to infringe, or contributes to the

infringement by others of, claims of the ’856 patent, either literally or under the doctrine of

equivalents, through at least the acts of making, using, selling, offering for sale, or importing

infringing products and services, including the Narda Model 8950/10, the Premier Utility Mobile

Contact Voltage Detection System, and mobile contact voltage detection services.

        28.     Plaintiff Power Survey has suffered or will suffer monetary damages as a result of

Premier Utility’s infringement of the ’856 patent in an amount to be determined at trial.

        29.     Plaintiff Power Survey has suffered or will suffer irreparable harm as a result of

Premier Utility’s infringement of the ’856 patent and will continue to suffer irreparable harm

unless Premier Utility is enjoined from infringing the ’856 patent.

              COUNT III: INFRINGEMENT OF THE ’274 PATENT BY NARDA

        30.     Plaintiff Power Survey realleges paragraphs 1 – 29 set forth above as if

specifically set forth herein.

        31.     Defendant Narda, in violation of 35 U.S.C. § 271(a), (b), or (c), has been

infringing, continues to infringe, induces others to infringe, or contributes to the infringement by

others of, claims of the ’274 patent, either literally or under the doctrine of equivalents, through



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at least the acts of making, using, selling, offering for sale, or importing infringing products and

services, including the Narda Model 8950/10.

        32.     Plaintiff Power Survey has suffered monetary damages as a result of Narda’s

infringement of the ’274 patent in an amount to be determined at trial.

        33.     Plaintiff Power Survey has suffered irreparable harm as a result of Narda’s

infringement of the ’274 patent and will continue to suffer irreparable harm unless Narda is

enjoined from infringing the ’274 patent.

              COUNT IV: INFRINGEMENT OF THE ’856 PATENT BY NARDA

        34.     Plaintiff Power Survey realleges paragraphs 1 – 33 set forth above as if

specifically set forth herein.

        35.     Defendant Narda, in violation of 35 U.S.C. § 271(a), (b), or (c), has been or is

infringing, continues to infringe, induces others to infringe, or contributes to the infringement by

others of, claims of the ’856 patent, either literally or under the doctrine of equivalents, through

at least the acts of making, using, selling, offering for sale, or importing infringing products and

services, including the Narda Model 8950/10.

        36.     Plaintiff Power Survey has suffered or will suffer monetary damages as a result of

Narda’s infringement of the ’856 patent in an amount to be determined at trial.

        37.     Plaintiff Power Survey has suffered or will suffer irreparable harm as a result of

Narda’s infringement of the ’856 patent and will continue to suffer irreparable harm unless

Narda is enjoined from infringing the ’856 patent.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Power Survey respectfully requests that this Court grant the

following relief:



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        A.      Judgment that each Defendant infringes the patents-in-suit;


        B.      A permanent injunction pursuant to 35 U.S.C. § 283, enjoining each Defendant

and its officers, directors, agents, servants, affiliates, employees, subsidiaries, parents, licensees,

assigns, and customers, and all others acting in concert or participating with them, from further

acts of infringement, inducing infringement, or contributing to the infringement of the claims of

the patents-in-suit as alleged above;


        C.      Judgment against each Defendant for money damages sustained as a result of each

Defendant’s infringement of the claims of the patents-in-suit in an amount as provided under 35

U.S.C. §284, to be no less than a reasonable royalty with interest and costs;


        D.      An accounting for infringing sales not presented at trial and an award by this

Court of additional damages for any such infringing sales;


        E.      An award of pre-judgment and post-judgment interest on the damages caused by

each Defendant’s infringing activities and other conduct complained of herein;


        F.      A judgment ordering each Defendant to pay enhanced damages pursuant to 35

U.S.C. §284, including but not limited to a judgment against each Defendant for treble damages

for willful infringement of the patents-in-suit;


        G.      A finding that this case is an exceptional case pursuant to 35 U.S.C. § 285 and

award Power Survey its costs and reasonable attorneys’ fees incurred in connection with this

action; and


        H.      Such other and further relief as this Court finds just and proper.



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                                   DEMAND FOR JURY TRIAL

         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff Power Survey

 hereby respectfully requests a trial by jury of all issues in this action so triable.


 Dated: September 23, 2013                            By:       /s/ Liza M. Walsh
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                       LOCAL RULE 11.2 AND 40.1 CERTIFICATION

        Plaintiff Power Survey, through its attorneys, certifies that the matter in controversy is

 not the subject of any other action pending in any court, or any pending arbitration or

 administrative proceeding.


 Dated: September 23, 2013                          By:      /s/ Liza M. Walsh
                                                           Liza M. Walsh
                                                           CONNELL FOLEY LLP
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                                                           Attorneys for Plaintiff Power Survey,
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                             LOCAL RULE 201.1 CERTIFICATION

         Plaintiff Power Survey, through its attorneys, certifies that the above-captioned matter is

 not subject to compulsory arbitration in that the plaintiffs seek, inter alia, injunctive relief.


 Dated: September 23, 2013                            By:     /s/ Liza M. Walsh
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                  EXHIBIT A
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                                                                                                                    US008482274B2


 (12) United States Patent                                                        (10) Patent N0.:                                               US 8,482,274 B2
        Kalokitis et al.                                                          (45) Date of Patent:                                                     Jul. 9, 2013

 (54)   APPARATUS AND METHOD FOR                                             (58)          Field of Classi?cation Search
        MONITORING AND CONTROLLING                                                         USPC         .......................................................... .. 324/ 71
        DETECTION OF STRAY VOLTAGE                                                         See application ?le for complete search history.
        ANOMALIES
                                                                             (56)                                        References Cited
 (75) Inventors: David Kalokitis, Robbinsville, NJ (US);
                     Leonard Joshua Schultz, Holland, PA                                                   U.S. PATENT DOCUMENTS
                     (US); Christos Alkiviadis Polyzois,
                                                                                     3,309,690 A                          3/1967 Mof?tt
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                     Paragano, Jr., Yardley, PA (US)                                  3,662,260 A *                        5/1972        Thomas et al. ............... .. 324/72

 (73) Assignee: Power Survey LLC, Kearny, NJ (US)                                                                           (Continued)
                                                                                                     FOREIGN PATENT DOCUMENTS
 (*)    Notice:      Subject to any disclaimer, the term of this             JP                         62103596 A                      * 5/1987
                     patent is extended or adjusted under 35                 JP                       2005274371 A                      * 10/2005
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 (21) Appl. No.: 13/618,696                                                  International Search Report and Written Opinion dated Sep. 13, 2010
                                                                             for PCT Application No. PCT/US2010/021653.
 (22) Filed:         Sep. 14, 2012

 (65)                   Prior Publication Data                                                                              (Continued)
        US 2013/0015979 A1           Jan. 17, 2013                           Primary Examiner * Melissa Koval
                                                                             Assistant Examiner * Benjamin M Baldridge
                  Related US. Application Data
                                                                             (74) Attorney, Agent, or Firm * Moser Taboada
 (63)   Continuation of application No. 12/321,484, ?led on
        Jan. 21, 2009, Which is a continuation-in-part of
                                                                             (57)                                          ABSTRACT
        application No. 11/551,222, ?led on Oct. 19, 2006,
        noW Pat. No. 7,486,081, and a continuation-in-part of                Apparatus and methods for detecting stray voltage anomalies
        application No. 11/224,909, ?led on Sep. 13, 2005,                   in electric ?elds are provided herein. In some embodiments,
        noW Pat. No. 7,248,054.                                              an apparatus for detecting an electrical ?eld may comprise: at
                                                                             least one sensor probe for generating data corresponding to an
 (60)   Provisional application No. 60/728,168, ?led on Oct.
                                                                             electrical ?eld detected by the at least one sensor probe,
         19, 2005, provisional application No. 60/639,054,                   Wherein the at least one sensor probe comprises at least one
        ?led on Dec. 23, 2004, provisional application No.
                                                                             electrode; a processor, coupled to the at least one sensor
        60/641,470, ?led on Jan. 5, 2005.
                                                                             probe, for analyzing the data to identify a voltage anomaly in
 (51)   Int. Cl.                                                             the electric ?eld; and an indicator, coupled to the processor,
        G01R 31/02               (2006.01)                                   for alerting a user to a presence of the voltage anomaly in the
                                                                             electric ?eld.
 (52)   US. Cl.
        USPC ...... .. 324/72; 340/870.37; 340/852; 340/657;
                                             340/573.1; 324/457                                        18 Claims, 23 Drawing Sheets




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                                     FIG. 4
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                                       FIG. 5
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                                           FIG. 8A
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                                     FIG. 17




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                                     FIG. 18
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